                Case 3:24-cv-00141 Document 1-2 Filed 06/25/24 Page 1 of 2


                       DEPARTMENT OF HEALTH & HUMAN SERVICES

                                                                                 Program Support Center

                                                                                  Debt Collection Center


                                  CERTIFICATE OF INDEBTEDNESS
                           Nursing Education Loan Repayment Program (NELRP)



Thomas Beavers
828 Broad Ave
Central City, PA 15926
REF: 724150014
SSN: XXX-XX-5524


Total debt due to the United States as of April 30, 2024: $19,663.27 (principal $13,088.31, interest
$6,574.96).

I certify that the Department of Health and Human Services' (HHS) records show the named individual is
indebted to the United States in the amount stated. Interest accrues on the principal amount of this debt at
the fixed rate of 10.125% per annum; $3.63 per day.

On December 26, 2011, Mr. Beavers submitted an application to participate in the Nursing Education Loan
Repayment Program, Section 846 of the Public Health Service Act (42 U.S.C. § 297n). The application was
approved, and an authorized designee of the Secretary, HHS, entered into a contract with him on July 2, 2012.

During his two-year contract, loan repayment funds totaling $17,682.80 were paid to him by the Federal
government in accordance with the Program statute [and/or regs} as applicable. The funds were paid upon
the condition that he serve full-time as a registered nurse for a period of two (2) consecutive years, beginning
on the effective date of the contract, at a Critical Shortage Facility (CSF). A CSF is a health care facility
determined by the Secretary to have a critical shortage of nurses.

He was to serve for two (2) consecutive years at Saint Francis University School of Health Sciences from
July 2, 2012, to July 1, 2014. The last day at his service site was February 28, 2014. He completed a total of 607
days of a 730-day service obligation owed under the written contract.

Under the contract based on the Program statute [and/or regs], if an individual fails to complete two (2)
years of service, the individual is liable to the Federal government for an amount equal to all payments made
under the contract, plus interest at the maximum legal prevailing rate. The amount that the Federal
government is entitled to recover is due no later than three (3) years from the date the individual defaults on
the service obligation.

On August 6, 2014, a program representative informed Mr. Beavers he was out of compliance with his
NURSE Corps Loan Repayment Nurse Faculty contract due to losing his employment with Saint Francis
University School of Health Sciences. He was given 60 days to resume service and complete his remaining
service obligation at an accredited eligible school of nursing. On September 9, 2014, he informed his program
representative that he had not yet secured employment. Subsequently, Mr. Beavers was advised to continue
looking for eligible employment. By emails dated October 9, 2014, October 16, 2014 and October 29, 2014,
HHS requested employment updates from Mr. Beavers. Mr. Beavers did not respond, which resulted in being
placed into default.
                Case 3:24-cv-00141 Document 1-2 Filed 06/25/24 Page 2 of 2

             PAGE 2 - CERTIFICATE OF INDEBTEDNESS – THOMAS BEAVERS



Mr. Beavers was notified by letter dated March 19, 2015, that he had been placed in default of his contract
effective March 1, 2014; and that the debt must be paid within three (3) years of the date of default. He was
also informed of the annual interest rate applicable to his debt and that interest would accrue on the unpaid
principal balance from the date of default until the debt is paid in full. In addition, he was advised that if
repayment arrangements were not finalized by the due date, the debt may be reported to consumer reporting
agencies as delinquent, referred to a collection agency, referred to the Department of Treasury for
administrative offset, and/or referred to the Department of Justice (DOJ) for enforced collection. Instructions
for entering into a repayment agreement (RA) were enclosed.

In a letter dated May 6, 2017, he was advised that his account had been referred to a private collection agency.
He was notified that unless payment in full or an RA was concluded, the account would be referred to DOJ
for enforced collection.

By letter dated May 19, 2017, he was advised that his account was delinquent. He was notified of HHS’ intent
to refer his debt to other Federal agencies for the purpose of administrative offset, which may include Federal
tax refund offset, salary offset, wage garnishment, and other Federal or State Agencies payments. He was
advised that paying the debt in full or entering into an RA would terminate administrative offset.

By letter dated May 27, 2020, Mr. Beavers was given the requirements for the repayment of his NCLRP debt,
which required monthly payments of at least $316.02.

Additional notifications and demand letters regarding the indebtedness were sent on the following dates:
May 24, 2019, March 13, 2020, November 23, 2023, December 7, 2023, December 15, 2023.

By letter dated May 2, 2024, Mr. Beavers was sent a final notice regarding the delinquent debt. He was advised
that if payment was not received within 30 days, the debt would be referred to the DOJ for litigation. He did
not respond.

By letter dated May 22, 2024, Mr. Beavers was informed of a recent audit on his account which indicated that
the incorrect interest rate 10.250% was applied. He was informed that the new interest rate 10.125% has been
applied and the correct interest amount is $6,574.96; not $6,711.40 as previously indicated. Mr. Beavers
monetary obligation to DHHS balance as of April 30, 2024, is $19,663.27 consisting of $13,088.31 principal and
$6,574.96 interest.

The following provides a breakdown of payments made on the debt:
Voluntary Payments                    02/21/2018 to 06/12/2020                            $10,144.11

Repeated attempts by HHS have been unsuccessful in establishing an acceptable repayment agreement.
The debt is now being referred to the U.S. Department of Justice for enforced collection.


CERTIFICATION: Pursuant to 28 U.S.C. 1746, I certify under penalty of perjury that the foregoing is true and correct.




Date                                                          Melodie R. Sanders
                                                              Chief, Debt Referral Section
                                                              Program Support Center
                                                              U.S. Department of Health and Human Services
